Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 1 of 29 Page ID #:1




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     FISHER & PAYKEL HEALTHCARE LIMITED
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 9
10                  IN THE UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     FISHER & PAYKEL                      )   Case No. 2:16-cv-6099
14   HEALTHCARE LIMITED, a New            )
     Zealand corporation                  )
15                                        )   COMPLAINT FOR PATENT
                                          )   INFRINGEMENT
16               Plaintiff,               )
                                          )   DEMAND FOR JURY TRIAL
17         v.                             )
                                          )
18   RESMED CORP., a Minnesota            )
     corporation,                         )
19                                        )
                 Defendant.               )
20                                        )
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 2 of 29 Page ID #:2




 1         Plaintiff Fisher & Paykel Healthcare Limited (“Plaintiff” or “Fisher &
 2   Paykel     Healthcare”)   hereby   complains    of   Defendant        ResMed   Corp.
 3   (“Defendant” or “ResMed”) and alleges as follows:
 4                                   I. THE PARTIES
 5         1.      Plaintiff Fisher & Paykel Healthcare Limited is a New Zealand
 6   corporation having a principal place of business at 15 Maurice Paykel Place,
 7   East Tamaki, Auckland 2013, PO Box 14 348, Panmure, Auckland, New
 8   Zealand.
 9         2.      Upon information and belief, Defendant ResMed Corp. is a
10   corporation organized under the laws of the state of Minnesota with its principal
11   place of business at 9001 Spectrum Center Boulevard, San Diego, California.
12                          II. JURISDICTION AND VENUE
13         3.      Fisher & Paykel Healthcare repeats, realleges, and incorporates by
14   reference the allegations set forth in Paragraphs 1-2 of this Complaint.
15         4.      Fisher & Paykel Healthcare Inc. is a California corporation having
16   a principal place of business in this district in Irvine, CA 92618.
17         5.      With the authorization of Fisher & Paykel Healthcare Limited,
18   Fisher & Paykel Healthcare Inc. sells in the United States products covered by
19   one or more of the patents asserted herein.
20         6.      This is a civil action for patent infringement arising under the
21   patent laws of the United States, 35 U.S.C. §§ 100, et seq., more particularly, 35
22   U.S.C. §§ 271 and 281.
23         7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C.
24   §§ 1331 and 1338(a).
25         8.      ResMed resides in California and is subject to personal jurisdiction
26   in California, and has committed the acts complained of in this Judicial District.
27         9.      Venue is proper in this Judicial District pursuant to 28 U.S.C.
28   §§ 1391(b), (c), and 1400(b).
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 3 of 29 Page ID #:3




 1                            III. THE PATENTS-IN-SUIT
 2         10.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 3   U.S. Patent 8,443,807 entitled “Breathing Assistance Apparatus” (“the ’807
 4   patent”), which the United States Patent and Trademark Office lawfully and
 5   duly issued on May 21, 2013. A true and correct copy of the ’807 patent is
 6   attached hereto as Exhibit 1.
 7         11.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 8   U.S. Patent 8,479,741 entitled “Breathing Assistance Apparatus” (“the ’741
 9   patent”), which the United States Patent and Trademark Office lawfully and
10   duly issued on July 9, 2013. A true and correct copy of the ’741 patent is
11   attached hereto as Exhibit 2.
12         12.    Fisher & Paykel Healthcare Limited is the owner by assignment of
13   U.S. Patent 8,186,345 entitled “Apparatus for Supplying Gases to a Patient”
14   (“the ’345 patent”), which the United States Patent and Trademark Office
15   lawfully and duly issued on May 29, 2012. A true and correct copy of the ’345
16   patent is attached hereto as Exhibit 3.
17         13.    Fisher & Paykel Healthcare Limited is the owner by assignment of
18   U.S. Patent 8,453,641 entitled “Apparatus For Measuring Properties of Gases
19   Supplied to a Patient” (“the ’641 patent”), which the United States Patent and
20   Trademark Office lawfully and duly issued on June 4, 2013. A true and correct
21   copy of the ’641 patent is attached hereto as Exhibit 4.
22         14.    Fisher & Paykel Healthcare Limited is the owner by assignment of
23   U.S. Patent 9,265,902 entitled “Apparatus For Measuring Properties of Gases
24   Supplied to a Patient” (“the ’902 patent”), which the United States Patent and
25   Trademark Office lawfully and duly issued on February 23, 2016. A true and
26   correct copy of the ’902 patent is attached hereto as Exhibit 5.
27         15.    Fisher & Paykel Healthcare Limited is the owner by assignment of
28   U.S. Patent 8,550,072 entitled “Apparatus for Delivering Humidified Gases”
                                         -2-
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 4 of 29 Page ID #:4




 1   (“the ’072 patent”), which the United States Patent and Trademark Office
 2   lawfully and duly issued on October 8, 2013. A true and correct copy of the
 3   ’072 patent is attached hereto as Exhibit 6.
 4         16.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 5   U.S. Patent 8,091,547 entitled “Apparatus for Delivering Humidified Gases”
 6   (“the ’547 patent”), which the United States Patent and Trademark Office
 7   lawfully and duly issued on January 10, 2012. A true and correct copy of the
 8   ’547 patent is attached hereto as Exhibit 7.
 9         17.    Fisher & Paykel Healthcare Limited is the owner by assignment of
10   U.S. Patent 7,111,624 entitled “Apparatus for Delivering Humidified Gases”
11   (“the ’624 patent”), which the United States Patent and Trademark Office
12   lawfully and duly issued on September 26, 2006. A true and correct copy of the
13   ’624 patent is attached hereto as Exhibit 8.
14         18.    Fisher & Paykel Healthcare Limited is the owner by assignment of
15   U.S. Patent 6,398,197 entitled “Water Chamber” (“the ’197 patent”), which the
16   United States Patent and Trademark Office lawfully and duly issued on June 4,
17   2002. A true and correct copy of the ’197 patent is attached hereto as Exhibit 9.
18                         IV. DEFENDANTS’ ACTIVITIES
19         19.    Upon information and belief, ResMed has made, used, offered to
20   sell, and/or sold within the United States, and/or has imported into the United
21   States, products including at least Continuous Positive Airway Pressure
22   (“CPAP”) machines such as ResMed’s AirSense 10 Series, including, without
23   limitation, ResMed AirSense 10 AutoSet, Airsense 10 AutoSet for Her,
24   AirSense 10 CPAP, and AirSense 10 Elite (collectively, “S10 CPAP”).
25         20.    Upon further information and belief, ResMed has made, used,
26   offered to sell, and/or sold within the United States, and/or has imported into the
27   United States, products including at least the AirCurve 10 ASV, AirCurve 10 S,
28   AirCurve 10 VAuto, and AirCurve 10 ST (collectively, “AirCurve 10”).
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 5 of 29 Page ID #:5




 1         21.    Upon further information and belief, ResMed has made, used,
 2   offered to sell, and/or sold within the United States, and/or has imported into the
 3   United States, ClimateLineAir heated air tubing for use with at least the S10
 4   CPAP products.
 5         22.    Upon further information and belief, ResMed has made, used,
 6   offered to sell, and/or sold within the United States, and/or has imported into the
 7   United States, nasal pillow masks, including the Swift FX and the Swift LT
 8   masks.
 9                  V. CLAIMS FOR PATENT INFRINGEMENT
10                            FIRST CLAIM FOR RELIEF
11                     (Infringement of U.S. Patent No. 8,443,807)
12         23.    Fisher & Paykel Healthcare realleges and reincorporates the
13   allegations set forth in paragraphs 1 through 22.
14         24.    Upon information and belief, ResMed products, including at least
15   the Swift FX products, infringe at least Claims 1, 2, 4, 6, 8, 17, 20, and 21 of the
16   ’807 patent under at least 35 U.S.C. § 271(a), (b), and (c).
17         25.    Upon information and belief, ResMed has directly infringed one or
18   more claims of the ’807 patent through manufacture use, sale, offer for sale,
19   and/or importation into the United States of masks, including the Swift FX
20   masks.
21         26.    For example, upon information and belief, the Swift FX mask
22   includes all of the limitations of Claim 1 of the ‘807 patent. The Swift FX mask
23   is a patient interface that includes a mask assembly with a mask body sized and
24   shaped to leave the mouth of the user uncovered by the mask when in use. Two
25   nasal pillows extend from the mask body, and in use these nasal pillows rest in a
26   substantially sealed manner against the openings of the nasal cavity of the user.
27   There is a ring engaging the mask body, an elbow rotatably engaged with the
28   ring comprising a plurality of vent holes, a tube or conduit extending from the
                                         -4-
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 6 of 29 Page ID #:6




 1   elbow, and a headgear assembly having two side straps that pass down the
 2   cheeks to secure the mask body to a face of a user. The headgear assembly also
 3   includes a top strap with a buckle to facilitate length adjustment of the top strap
 4   and a back strap adjustably connected to at least the top strap or the two side
 5   straps. The two side straps are configured to connect and disconnect with the
 6   mask assembly while the elbow remains rotatably engaged with the ring and the
 7   ring remains engaged with the mask body. The mask assembly is configured to
 8   connect to the two side straps, and the top strap connects only with one or more
 9   of the side straps and the back strap.
10         27.    ResMed is aware of the ’807 patent, at least in part through written
11   communications from Fisher & Paykel Healthcare on or about February 27,
12   2015 notifying ResMed of its infringement of this patent.
13         28.    Upon information and belief, ResMed has actively induced others
14   to infringe the ’807 patent by marketing and selling the above masks, knowing
15   and intending that such masks would be used by customers and end users in a
16   manner that infringes the ’807 patent.            To that end, ResMed provides
17   instructions and teachings to its customers and end users that such masks be
18   used to infringe the ’807 patent. ResMed’s acts constitute infringement of the
19   ’807 patent in violation of 35 U.S.C. § 271(b).
20         29.    Upon information and belief, ResMed actively induces health-care
21   service providers and users to directly infringe the asserted claims of the ’807
22   patent. By way of example only, upon information and belief, ResMed actively
23   induces direct infringement of the ’807 patent by providing directions,
24   demonstrations, guides, manuals, training for use, and/or other materials
25   necessary for the use, refurbishing, and/or servicing of the Swift FX masks.
26   Upon information and belief, ResMed knew or should have known that these
27   activities would cause direct infringement.
28   ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 7 of 29 Page ID #:7




 1            30.   Upon information and belief, ResMed’s acts constitute contributory
 2   infringement of the ‘807 patent in violation of 35 U.S.C. § 271(c). Upon
 3   information and belief, ResMed contributorily infringes because, among other
 4   things, ResMed offers to sell and/or sells within the United States, and/or
 5   imports into the United States, components of the Swift FX masks that
 6   constitute material parts of the invention of the asserted claims of the ’807
 7   patent, are not staple articles or commodities of commerce suitable for
 8   substantial non-infringing use, and are known by ResMed to be especially made
 9   or especially adapted for use in an infringement of the ’807 patent.
10            31.   Upon information and belief, ResMed’s infringement of the ’807
11   patent has been, and continues to be, willful, deliberate, and intentional by
12   continuing its acts of infringement after becoming aware of the ’807 patent and
13   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
14   Healthcare’s patent rights.
15            32.   As a consequence of ResMed’s infringement of the ’807 patent,
16   Fisher & Paykel Healthcare has suffered and will continue to suffer irreparable
17   harm and injury, including monetary damages in an amount to be determined at
18   trial.
19            33.   Upon information and belief, unless enjoined, ResMed, and/or
20   others acting on behalf of ResMed, will continue their infringing acts, thereby
21   causing additional irreparable injury to Fisher & Paykel Healthcare for which
22   there is no adequate remedy at law.
23                           SECOND CLAIM FOR RELIEF
24                      (Infringement of U.S. Patent No. 8,479,741)
25            34.   Fisher & Paykel Healthcare realleges and reincorporates the
26   allegations set forth in paragraphs 1 through 33.
27   ///
28   ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 8 of 29 Page ID #:8




 1         35.    Upon information and belief, ResMed products, including at least
 2   the Swift LT masks, infringe at least Claims 1-3, 16, 17, 34, and 35 of the ’741
 3   patent under 35 U.S.C. § 271(a), (b), or (c).
 4         36.    Upon information and belief, ResMed has directly infringed one or
 5   more claims of the ’741 patent through manufacture use, sale, offer for sale,
 6   and/or importation into the United States of the Swift LT masks.
 7         37.    For example, upon information and belief, the Swift LT mask
 8   includes all of the limitations of Claim 1 of the ’741 patent. The Swift LT mask
 9   is a patient interface that includes a mask body comprising a substantially
10   flexible plastics material and having two nasal pillows angled toward one
11   another. Each of the nasal pillows has a generally conical portion, a generally
12   cylindrical portion, and an outlet opening. The mask body also includes an inlet
13   opening that is spaced apart from the outlet openings on the nasal pillows and
14   that is within a generally tubular portion of the mask body.
15         38.    Upon information and belief, the Swift LT mask also includes a
16   mask base having a plastics material that is less flexible than the plastics
17   material of the mask body. The mask base has a housing with a through
18   passage, and a proximal portion of the through passage is surrounded by a
19   recess. The recess receives the generally tubular portion of the mask body that
20   defines the mask body inlet opening. Two side arms are removably connected
21   to the mask base, and each side arm is three-dimensionally molded and has a
22   varying cross-sectional thickness.
23         39.    Upon information and belief, the Swift LT mask includes headgear
24   with two side straps of a composite foam material. Each side arm overlaps with
25   and is secured to one of the side straps, and the side strap extends only partially
26   along the side arm to which it is secured.
27   ///
28   ///
                                          -7-
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 9 of 29 Page ID #:9




 1         40.    ResMed is aware of the ’741 patent, at least in part through written
 2   communications from Fisher & Paykel Healthcare on or about February 27,
 3   2015 notifying ResMed of its infringement of this patent.
 4         41.    Upon information and belief, ResMed has actively induced others
 5   to infringe the ’741 patent.     ResMed’s acts constitute infringement of the
 6   ’741 patent in violation of 35 U.S.C. § 271(b).
 7         42.    Upon information and belief, ResMed actively induces health-care
 8   service providers and users to directly infringe the asserted claims of the ’741
 9   patent. By way of example only, upon information and belief, ResMed actively
10   induces direct infringement of the ’741 patent by providing directions,
11   demonstrations, guides, manuals, training for use, and/or other materials
12   necessary for the use, refurbishing, and/or servicing of the Swift LT masks.
13   Upon information and belief, ResMed knew or should have known that these
14   activities would cause direct infringement.
15         43.    Upon information and belief, ResMed’s acts constitute contributory
16   infringement of the ’741 patent in violation of 35 U.S.C. § 271(c). Upon
17   information and belief, ResMed contributorily infringes because, among other
18   things, ResMed offers to sell and/or sells within the United States, and/or
19   imports into the United States, components of the Swift LT masks that
20   constitute material parts of the invention of the asserted claims of the ’741
21   patent, are not staple articles or commodities of commerce suitable for
22   substantial non-infringing use, and are known by ResMed to be especially made
23   or especially adapted for use in an infringement of the ’741 patent.
24         44.    Upon further information and belief, such components are used by
25   ResMed in connection with the refurbishing, servicing and/or use of infringing
26   Swift LT masks in the United States, thereby constituting direct infringement of
27   the asserted claims of the ’741 patent.
28   ///
                                         -8-
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 10 of 29 Page ID #:10




   1            45.   Upon information and belief, ResMed’s infringement of the ’741
   2   patent has been, and continues to be, willful, deliberate, and intentional by
   3   continuing its acts of infringement after becoming aware of the ’741 patent and
   4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
   5   Healthcare’s patent rights.
   6            46.   As a consequence of ResMed’s infringement of the ’741 patent,
   7   Fisher & Paykel Healthcare has suffered and will continue to suffer irreparable
   8   harm and injury, including monetary damages in an amount to be determined at
   9   trial.
 10             47.   Upon information and belief, unless enjoined, ResMed, and/or
 11    others acting on behalf of ResMed, will continue their infringing acts, thereby
 12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 13    there is no adequate remedy at law.
 14                             THIRD CLAIM FOR RELIEF
 15                       (Infringement of U.S. Patent No. 8,186,345)
 16             48.   Fisher & Paykel Healthcare realleges and reincorporates the
 17    allegations set forth in paragraphs 1 through 47.
 18             49.   Upon information and belief, ResMed products, including at least
 19    the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
 20    Claims 1 and 3 of the ’345 patent under 35 U.S.C. § 271(a), (b), or (c).
 21             50.   Upon information and belief, ResMed has directly infringed the
 22    asserted claims of the ’345 patent through manufacture use, sale, offer for sale,
 23    and/or importation into the United States of the S10 CPAP, AirCurve 10, and
 24    ClimateLineAir products.
 25             51.   For example, upon information and belief, the AirSense 10 with
 26    ClimateLine Air tubing includes all of the limitations of Claim 1 of the ‘345
 27    patent. Upon information and belief, the AirSense 10 with Climate Line Air
 28    tubing is an apparatus for supplying gases to a patient. It includes a gases
                                          -9-
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 11 of 29 Page ID #:11




   1   supply and a tube with a heater wire for heating the conduit. The heater wire is
   2   located around the outside of the tube. The circuitry of the ClimateLine Air
   3   tube includes a thermistor, which has a characteristic impedance. The user
   4   manual for the AirSense 10 indicates that this device has a controller for
   5   controlling the heating of the heater wire. The controller can automatically
   6   identify the conduit attached by using the resistance from the thermistor at room
   7   temperature to determine the type of delivery conduit attached.
   8         52.    ResMed is aware of the ’345 patent, at least in part through written
   9   communications from Fisher & Paykel Healthcare on or about February 22,
 10    2016 notifying ResMed of its infringement of this patent.
 11          53.    Upon information and belief, ResMed has actively induced others
 12    to infringe the ’345 patent.     ResMed’s acts constitute infringement of the
 13    ’345 patent in violation of 35 U.S.C. § 271(b).
 14          Upon information and belief, ResMed actively induces health-care
 15    service providers and users to directly infringe the asserted claims of the ’345
 16    patent. By way of example only, upon information and belief, ResMed actively
 17    induces direct infringement of the ’345 patent by providing directions,
 18    demonstrations, guides, manuals, training for use, and/or other materials
 19    necessary for the use, refurbishing, and/or servicing of          the S10 CPAP,
 20    AirCurve 10, and ClimateLineAir products.
 21          54.    Upon information and belief, ResMed knew or should have known
 22    that these activities would cause direct infringement.
 23          55.    Upon information and belief, ResMed’s acts constitute contributory
 24    infringement of the ’345 patent in violation of 35 U.S.C. § 271(c). Upon
 25    information and belief, ResMed contributorily infringes because, among other
 26    things, ResMed offers to sell and/or sells within the United States, and/or
 27    imports into the United States, components of the S10 CPAP, AirCurve 10, and
 28    ClimateLineAir products that constitute material parts of the invention of the
                                           - 10 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 12 of 29 Page ID #:12




   1   asserted claims of the ’345 patent, are not staple articles or commodities of
   2   commerce suitable for substantial non-infringing use, and are known by
   3   ResMed to be especially made or especially adapted for use in an infringement
   4   of the ’345 patent.
   5         56.    Upon further information and belief, such components are used by
   6   ResMed in connection with the refurbishing, servicing and/or use of infringing
   7   S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
   8   thereby constituting direct infringement of the asserted claims of the ’345
   9   patent.
 10          57.    Upon information and belief, ResMed’s infringement of the ’345
 11    patent has been, and continues to be, willful, deliberate, and intentional by
 12    continuing its acts of infringement after becoming aware of the ’345 patent and
 13    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 14    Healthcare’s patent rights.
 15          58.    As a consequence of ResMed’s patent infringement of the ’345
 16    patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
 17    irreparable harm and injury, including monetary damages in an amount to be
 18    determined at trial.
 19          59.    Upon information and belief, unless enjoined, ResMed, and/or
 20    others acting on behalf of ResMed, will continue their infringing acts, thereby
 21    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 22    there is no adequate remedy at law.
 23                           FOURTH CLAIM FOR RELIEF
 24                      (Infringement of U.S. Patent No. 8,453,641)
 25          60.    Fisher & Paykel Healthcare realleges and reincorporates the
 26    allegations set forth in paragraphs 1 through 59.
 27    ///
 28    ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 13 of 29 Page ID #:13




   1          61.    Upon information and belief, ResMed products, including at least
   2   the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
   3   Claims 1 5, and 6 of the ’641 patent under 35 U.S.C. § 271(a), (b), or (c).
   4          62.    Upon information and belief, ResMed has directly infringed the
   5   asserted claims of the ’641 patent through manufacture use, sale, offer for sale,
   6   and/or importation into the United States of the S10 CPAP, AirCurve 10, and
   7   ClimateLineAir products.
   8          63.    For example, upon information and belief, the AirSense 10 with
   9   ClimateLine Air tubing includes all of the limitations of Claim 1 of the ‘641
 10    patent. The AirSense 10 is an apparatus for measuring the properties of gases
 11    being supplied to a patient. It includes a gases supply and a tube that includes a
 12    heater wire for heating the tube. The heater wire is located around the outside of
 13    the tube. The tube has two ends, and the heater wire extends longitudinally
 14    along the tube from the first end to the second end of the tube. The heater wire
 15    forms part of the circuit of the AirSense 10 device and is measured by a
 16    controller to determine properties of the gases, including temperature and/or
 17    relative humidity. The electrical circuit has two portions, one that is located
 18    near the first end of the tube and the other that is located near the second end of
 19    the tube.     The two portions of the electrical circuit are in electrical
 20    communication with each other through a thermistor that is electrically
 21    connected to the contacts at the gases supply end of the electrical circuit. The
 22    change in current from the thermistor is used to determine temperature of the
 23    gases as it varies.
 24           64.    ResMed is aware of the ’641 patent, at least in part through written
 25    communications from Fisher & Paykel Healthcare on or about February 22,
 26    2016 notifying ResMed of its infringement of this patent.
 27    ///
 28    ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 14 of 29 Page ID #:14




   1         65.    Upon information and belief, ResMed has actively induced others
   2   to infringe the ’641 patent.     ResMed’s acts constitute infringement of the
   3   ’641 patent in violation of 35 U.S.C. § 271(b).
   4         66.    Upon information and belief, ResMed actively induces health-care
   5   service providers and users to directly infringe the asserted claims of the ’641
   6   patent. By way of example only, upon information and belief, ResMed actively
   7   induces direct infringement of the ’641 patent by providing directions,
   8   demonstrations, guides, manuals, training for use, and/or other materials
   9   necessary for the use, refurbishing, and/or servicing of       the S10 CPAP,
 10    AirCurve 10, and ClimateLineAir products.
 11          67.    Upon information and belief, ResMed knew or should have known
 12    that these activities would cause direct infringement.
 13          68.    Upon information and belief, ResMed’s acts constitute contributory
 14    infringement of the ’641 patent in violation of 35 U.S.C. § 271(c). Upon
 15    information and belief, ResMed contributorily infringes because, among other
 16    things, ResMed offers to sell and/or sells within the United States, and/or
 17    imports into the United States, components of the S10 CPAP, AirCurve 10, and
 18    ClimateLineAir products that constitute material parts of the invention of the
 19    asserted claims of the ’641 patent, are not staple articles or commodities of
 20    commerce suitable for substantial non-infringing use, and are known by
 21    ResMed to be especially made or especially adapted for use in an infringement
 22    of the ’641 patent.
 23          69.    Upon further information and belief, such components are used by
 24    ResMed in connection with the refurbishing, servicing and/or use of infringing
 25    S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
 26    thereby constituting direct infringement of the asserted claims of the ’641
 27    patent.
 28    ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 15 of 29 Page ID #:15




   1         70.    Upon information and belief, ResMed’s infringement of the ’641
   2   patent has been, and continues to be, willful, deliberate, and intentional by
   3   continuing its acts of infringement after becoming aware of the ’641 patent and
   4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
   5   Healthcare’s patent rights.
   6         71.    As a consequence of ResMed’s patent infringement of the ’641
   7   patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
   8   irreparable harm and injury, including monetary damages in an amount to be
   9   determined at trial.
 10          72.    Upon information and belief, unless enjoined, ResMed, and/or
 11    others acting on behalf of ResMed, will continue their infringing acts, thereby
 12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 13    there is no adequate remedy at law.
 14                            FIFTH CLAIM FOR RELIEF
 15                      (Infringement of U.S. Patent No. 9,265,902)
 16          73.    Fisher & Paykel Healthcare realleges and reincorporates the
 17    allegations set forth in paragraphs 1 through 72.
 18          74.    Upon information and belief, ResMed products, including at least
 19    the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
 20    Claims 7, 11, and 12of the ’902 patent under 35 U.S.C. § 271(a), (b), or (c).
 21          75.    Upon information and belief, ResMed has directly infringed the
 22    asserted claims of the ’902 patent through manufacture use, sale, offer for sale,
 23    and/or importation into the United States of the S10 CPAP, AirCurve 10, and
 24    ClimateLineAir products.
 25          76.    For example, upon information and belief, the AirSense 10 with
 26    ClimateLine Air includes all of the limitations of Claim 7 of the ’902 patent.
 27    The AirSense 10 is configured to supply a stream of gases to a patient. It
 28    includes a gases supply, a tube configured to connect to the gases supply and to
                                          - 14 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 16 of 29 Page ID #:16




   1   deliver the stream of gases to the patient, and a heater wire extending through a
   2   length of the tube.    An electrical circuit connected to the wire includes a
   3   thermistor, and current flows through the thermistor and wire to a controller.
   4   Based on the current, the controller can determine at least the temperature of the
   5   gases and can adjust for patient comfort or therapeutic setting. The thermistor is
   6   positioned within the stream of gases. An overmolding encloses part of the
   7   electrical circuit and extends into the middle of the tube.
   8         77.    ResMed is aware of the ’902 patent, at least in part through written
   9   communications from Fisher & Paykel Healthcare on or about February 22,
 10    2016 notifying ResMed of its infringement of this patent.
 11          78.    Upon information and belief, ResMed has actively induced others
 12    to infringe the ’902 patent.     ResMed’s acts constitute infringement of the
 13    ’902 patent in violation of 35 U.S.C. § 271(b).
 14          79.    Upon information and belief, ResMed actively induces health-care
 15    service providers and users to directly infringe the asserted claims of the ’902
 16    patent. By way of example only, upon information and belief, ResMed actively
 17    induces direct infringement of the ’902 patent by providing directions,
 18    demonstrations, guides, manuals, training for use, and/or other materials
 19    necessary for the use, refurbishing, and/or servicing of        the S10 CPAP,
 20    AirCurve 10, and ClimateLineAir products.
 21          80.    Upon information and belief, ResMed knew or should have known
 22    that these activities would cause direct infringement.
 23          81.    Upon information and belief, ResMed’s acts constitute contributory
 24    infringement of the ’902 patent in violation of 35 U.S.C. § 271(c). Upon
 25    information and belief, ResMed contributorily infringes because, among other
 26    things, ResMed offers to sell and/or sells within the United States, and/or
 27    imports into the United States, components of the S S10 CPAP, AirCurve 10,
 28    and ClimateLineAir products that constitute material parts of the invention of
                                           - 15 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 17 of 29 Page ID #:17




   1   the asserted claims of the ’902 patent, are not staple articles or commodities of
   2   commerce suitable for substantial non-infringing use, and are known by
   3   ResMed to be especially made or especially adapted for use in an infringement
   4   of the ’902 patent.
   5         82.    Upon further information and belief, such components are used by
   6   ResMed in connection with the refurbishing, servicing and/or use of infringing
   7   S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
   8   thereby constituting direct infringement of the asserted claims of the ’902
   9   patent.
 10          83.    Upon information and belief, ResMed’s infringement of the ’902
 11    patent has been, and continues to be, willful, deliberate, and intentional by
 12    continuing its acts of infringement after becoming aware of the ’902 patent and
 13    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 14    Healthcare’s patent rights.
 15          84.    As a consequence of ResMed’s patent infringement of the ’902
 16    patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
 17    irreparable harm and injury, including monetary damages in an amount to be
 18    determined at trial.
 19          85.    Upon information and belief, unless enjoined, ResMed, and/or
 20    others acting on behalf of ResMed, will continue their infringing acts, thereby
 21    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 22    there is no adequate remedy at law.
 23                            SIXTH CLAIM FOR RELIEF
 24                      (Infringement of U.S. Patent No. 8,550,072)
 25          86.    Fisher & Paykel Healthcare realleges and reincorporates the
 26    allegations set forth in paragraphs 1 through 85.
 27    ///
 28    ///
                                          - 16 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 18 of 29 Page ID #:18




   1         87.      Upon information and belief, ResMed products, including at least
   2   the S10 CPAP and AirCurve 10 products, infringe at least Claims 6, 12, and 13
   3   of the ’072 patent under 35 U.S.C. § 271(a), (b), or (c).
   4         88.      Upon information and belief, ResMed has directly infringed the
   5   asserted claims of the ’072 patent through the manufacture, use, sale, offer for
   6   sale, and/or importation into the United States of the S10 CPAP and AirCurve
   7   10 products.
   8         89.      For example, upon information and belief, the AirSense 10 includes
   9   all of the limitations of Claim 6 of the ‘072 patent. The AirSense 10 is an
 10    apparatus for use in humidified gases delivery treatment. It includes a blower
 11    for generating a supply of pressurised gases. It includes a pressurised gases
 12    outlet in fluid connection with the pressurised gases supply and adapted to make
 13    a separate fluid connection with an inlet of a water chamber to provide gases
 14    flow to the chamber. It includes a humidified gases return adapted to make a
 15    separate fluid connection with an outlet of the water chamber in order to receive
 16    humidified gases from the water chamber, and it is adjacent to and aligned with
 17    the pressurised gases outlet. These two fluid connections are made by a single
 18    motion. The AirSense 10 also includes a patient outlet in fluid connection with
 19    the humidified gases return to receive humidified gases from the humidified
 20    gases return and to provide humidified gases to the patient outlet. This patient
 21    outlet is in fluid connection with or adapted to make fluid connection with a
 22    breathing conduct for delivery of humidified gases to a patient.
 23          90.      ResMed is aware of the ’072 patent, at least in part through written
 24    communications from Fisher & Paykel Healthcare on or about October 1, 2015
 25    notifying ResMed of its infringement of this patent.
 26          91.      Upon information and belief, ResMed has actively induced others
 27    to infringe the ’072 patent.      ResMed’s acts constitute infringement of the
 28    ’072 patent in violation of 35 U.S.C. § 271(b).
                                            - 17 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 19 of 29 Page ID #:19




   1         92.      Upon information and belief, ResMed actively induces health-care
   2   service providers and users to directly infringe the asserted claims of the
   3   ’072 patent. By way of example only, upon information and belief, ResMed
   4   actively induces direct infringement of the ’072 patent by providing directions,
   5   demonstrations, guides, manuals, training for use, and/or other materials
   6   necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
   7   10 products.
   8         93.      Upon information and belief, ResMed knew or should have known
   9   that these activities would cause direct infringement.
 10          94.      Upon information and belief, ResMed’s acts constitute contributory
 11    infringement of the ’072 patent in violation of 35 U.S.C. § 271(c). Upon
 12    information and belief, ResMed contributorily infringes because, among other
 13    things, ResMed offers to sell and/or sells within the United States, and/or
 14    imports into the United States, components of S10 CPAP and AirCurve 10
 15    products that constitute material parts of the invention of the asserted claims of
 16    the ’072 patent, are not staple articles or commodities of commerce suitable for
 17    substantial non-infringing use, and are known by ResMed to be especially made
 18    or especially adapted for use in an infringement of the ’072 patent.
 19          95.      Upon further information and belief, such components are used by
 20    ResMed in connection with the refurbishing, servicing and/or use of infringing
 21    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
 22    direct infringement of the asserted claims of the ’072 patent.
 23          96.      Upon information and belief, ResMed’s infringement of the ’072
 24    patent has been, and continues to be, willful, deliberate, and intentional by
 25    continuing its acts of infringement after becoming aware of the ’072 patent and
 26    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 27    Healthcare’s patent rights.
 28    ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 20 of 29 Page ID #:20




   1         97.      As a consequence of ResMed’s patent infringement of the ’072
   2   patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
   3   irreparable harm and injury, including monetary damages in an amount to be
   4   determined at trial.
   5         98.      Upon information and belief, unless enjoined, ResMed, and/or
   6   others acting on behalf of ResMed, will continue their infringing acts, thereby
   7   causing additional irreparable injury to Fisher & Paykel Healthcare for which
   8   there is no adequate remedy at law.
   9                          SEVENTH CLAIM FOR RELIEF
 10                       (Infringement of U.S. Patent No. 8,091,547)
 11          99.      Fisher & Paykel Healthcare realleges and reincorporates the
 12    allegations set forth in paragraphs 1 through 98.
 13          100. Upon information and belief, ResMed products, including at least
 14    the S10 CPAP and AirCurve 10 products, infringe at least Claims 24 and 25 of
 15    the ’547 patent under 35 U.S.C. § 271(a), (b), or (c).
 16          101. Upon information and belief, ResMed has directly infringed the
 17    asserted claims of the ’547 patent through the manufacture, use, sale, offer for
 18    sale, and/or importation into the United States of the S10 CPAP and AirCurve
 19    10 products.
 20          102. For example, upon information and belief, the AirSense 10 includes
 21    all of the limitations of Claim 24 of the ‘547 patent. The AirSense 10 is a gas
 22    humidification apparatus. It includes a humidification chamber with a base. It
 23    has a housing with a source gases outlet adapted to make a separable fluid
 24    connection with an inlet of the humidification chamber in order to provide gases
 25    flow into the humidification chamber. The housing also has a humidified gases
 26    inlet adapted to make a separable fluid connection with an outlet of the
 27    humidification chamber in order to receive humidified gases from the
 28    humidification chamber. The humidified gases outlet is in fluid communication
                                           - 19 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 21 of 29 Page ID #:21




   1   with the humidified gases inlet and is adapted to make fluid connection with a
   2   breathing conduit for delivery of humidified gases to a patient. The housing
   3   also includes a heater configured to vaporize liquid water in the humidification
   4   chamber to provide water vapor to gases flowing through the humidification
   5   chamber. The housing is adapted to accommodate the humidification chamber,
   6   which is removable and engageable with the housing via a single motion. The
   7   single motion of engagement disposes the base of the humidification chamber
   8   adjacent the heater. The single motion also makes or breaks the separable
   9   connection between the source gases outlet and the humidification chamber inlet
 10    and the separable connection between the humidified gases inlet and the
 11    humidification chamber outlet.
 12          103. ResMed is aware of the ’547 patent, at least in part through written
 13    communications from Fisher & Paykel Healthcare on or about October 1, 2015
 14    notifying ResMed of its infringement of this patent.
 15          104. Upon information and belief, ResMed has actively induced others
 16    to infringe the ’547 patent.     ResMed’s acts constitute infringement of the
 17    ’547 patent in violation of 35 U.S.C. § 271(b).
 18          105. Upon information and belief, ResMed actively induces health-care
 19    service providers and users to directly infringe the asserted claims of the
 20    ’547 patent. By way of example only, upon information and belief, ResMed
 21    actively induces direct infringement of the ’547 patent by providing directions,
 22    demonstrations, guides, manuals, training for use, and/or other materials
 23    necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
 24    10 products.
 25          106. Upon information and belief, ResMed knew or should have known
 26    that these activities would cause direct infringement.
 27          107. Upon information and belief, ResMed’s acts constitute contributory
 28    infringement of the ’547 patent in violation of 35 U.S.C. § 271(c). Upon
                                           - 20 -
Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 22 of 29 Page ID #:22




   1   information and belief, ResMed contributorily infringes because, among other
   2   things, ResMed offers to sell and/or sells within the United States, and/or
   3   imports into the United States, components of S10 CPAP and AirCurve 10
   4   products that constitute material parts of the invention of the asserted claims of
   5   the ’547 patent, are not staple articles or commodities of commerce suitable for
   6   substantial non-infringing use, and are known by ResMed to be especially made
   7   or especially adapted for use in an infringement of the ’547 patent.
   8         108. Upon further information and belief, such components are used by
   9   ResMed in connection with the refurbishing, servicing and/or use of infringing
 10    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
 11    direct infringement of the asserted claims of the ’547 patent.
 12          109. Upon information and belief, ResMed’s infringement of the
 13    ’547 patent has been, and continues to be, willful, deliberate, and intentional by
 14    continuing its acts of infringement after becoming aware of the ’547 patent and
 15    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 16    Healthcare’s patent rights.
 17          110. As a consequence of ResMed’s patent infringement of the
 18    ’547 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
 19    irreparable harm and injury, including monetary damages in an amount to be
 20    determined at trial.
 21          111. Upon information and belief, unless enjoined, ResMed, and/or
 22    others acting on behalf of ResMed, will continue their infringing acts, thereby
 23    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 24    there is no adequate remedy at law.
 25                           EIGHTH CLAIM FOR RELIEF
 26                      (Infringement of U.S. Patent No. 7,111,624)
 27          112. Fisher & Paykel Healthcare realleges and reincorporates the
 28    allegations set forth in paragraphs 1 through 111.
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 23 of 29 Page ID #:23




   1         113. Upon information and belief, ResMed products, including at least
   2   the S10 CPAP and AirCurve 10 products, infringe at least Claims 1-3 and 7 of
   3   the ’624 patent under 35 U.S.C. § 271(a), (b), or (c).
   4         114. Upon information and belief, ResMed has directly infringed the
   5   asserted claims of the ’624 patent through the manufacture, use, sale, offer for
   6   sale, and/or importation into the United States of the S10 CPAP and AirCurve
   7   10 products.
   8         115. ResMed is aware of the ’624 patent, at least in part through written
   9   communications from Fisher & Paykel Healthcare on or about October 1, 2015
 10    notifying ResMed of its infringement of this patent.
 11          116. For example, upon information and belief, the AirSense 10 includes
 12    all of the limitations of Claim 1 of the ‘624 patent. The AirSense 10 is an
 13    apparatus for use in humidified gases delivery treatment. It has a housing that
 14    has a pressurised gases supply within it. A pressurised gases outlet in the
 15    housing is in fluid connection with the pressurised gases supply and is adapted
 16    to make fluid connection with an inlet of a humidifier in order to provide gases
 17    flow to the humidifier. A humidified gases return in the housing is adapted to
 18    make fluid connection with an outlet of the humidifier in order to receive
 19    humidified gases from the humidifier. A patient outlet in the housing is in fluid
 20    connection with the humidified gases return in order to receive humidified gases
 21    and to provide humidified gases to the patient outlet. The patient outlet is in
 22    fluid communication with or adapted to make fluid connection with a breathing
 23    conduit for delivery of humidified gases to a patient.
 24          117. Upon information and belief, ResMed has actively induced others
 25    to infringe the ’624 patent.     ResMed’s acts constitute infringement of the
 26    ’624 patent in violation of 35 U.S.C. § 271(b).
 27          118. Upon information and belief, ResMed actively induces health-care
 28    service providers and users to directly infringe the asserted claims of the
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 24 of 29 Page ID #:24




   1   ’624 patent. By way of example only, upon information and belief, ResMed
   2   actively induces direct infringement of the ’624 patent by providing directions,
   3   demonstrations, guides, manuals, training for use, and/or other materials
   4   necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
   5   10 products.
   6         119. Upon information and belief, ResMed knew or should have known
   7   that these activities would cause direct infringement.
   8         120. Upon information and belief, ResMed’s acts constitute contributory
   9   infringement of the ’624 patent in violation of 35 U.S.C. § 271(c). Upon
 10    information and belief, ResMed contributorily infringes because, among other
 11    things, ResMed offers to sell and/or sells within the United States, and/or
 12    imports into the United States, components of S10 CPAP and AirCurve 10
 13    products that constitute material parts of the invention of the asserted claims of
 14    the ’624 patent, are not staple articles or commodities of commerce suitable for
 15    substantial non-infringing use, and are known by ResMed to be especially made
 16    or especially adapted for use in an infringement of the ’624 patent.
 17          121. Upon further information and belief, such components are used by
 18    ResMed in connection with the refurbishing, servicing and/or use of infringing
 19    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
 20    direct infringement of the asserted claims of the ’624 patent.
 21          122. Upon information and belief, ResMed’s infringement of the
 22    ’624 patent has been, and continues to be, willful, deliberate, and intentional by
 23    continuing its acts of infringement after becoming aware of the ’624 patent and
 24    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 25    Healthcare’s patent rights.
 26          123. As a consequence of ResMed’s patent infringement of the
 27    ’624 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 25 of 29 Page ID #:25




   1   irreparable harm and injury, including monetary damages in an amount to be
   2   determined at trial.
   3         124. Upon information and belief, unless enjoined, ResMed, and/or
   4   others acting on behalf of ResMed, will continue their infringing acts, thereby
   5   causing additional irreparable injury to Fisher & Paykel Healthcare for which
   6   there is no adequate remedy at law.
   7                           NINTH CLAIM FOR RELIEF
   8                     (Infringement of U.S. Patent No. 6,398,197)
   9         125. Fisher & Paykel Healthcare realleges and reincorporates the
 10    allegations set forth in paragraphs 1 through 124.
 11          126. Upon information and belief, ResMed products, including at least
 12    the S10 CPAP and AirCurve 10 products, infringe at least Claim 1 of the
 13    ’197 patent under 35 U.S.C. § 271(a), (b), or (c).
 14          127. Upon information and belief, ResMed has directly infringed the
 15    asserted claims of the ’197 patent through the manufacture, use, sale, offer for
 16    sale, and/or importation into the United States of the S10 CPAP and AirCurve
 17    10 products.
 18          128. For example, upon information and belief, the AirSense 10 includes
 19    all of the limitations of Claim 1 of the ‘197 patent. It includes a water chamber
 20    adapted for use in conjunction with a heater base. The water chamber has a
 21    horizontally oriented gases inlet in a wall. There is an elongate flow tube
 22    extending into the water chamber from the inner periphery of the gases inlet,
 23    and an inlet end of the elongate flow tube covering the inlet. An outlet end of
 24    the elongate flow tube is spaced from the wall of the water chamber. In use, the
 25    elongate flow tube receives at the inlet end gases supplied to the gases inlet.
 26    The gases pass through the elongate flow tube and exit the flow tube at the
 27    outlet end distant from the wall.
 28    ///
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 26 of 29 Page ID #:26




   1         129. ResMed is aware of the ’197 patent, at least in part through written
   2   communications from Fisher & Paykel Healthcare on or about October 1, 2015
   3   notifying ResMed of its infringement of this patent.
   4         130. Upon information and belief, ResMed has actively induced others
   5   to infringe the ’197 patent.     ResMed’s acts constitute infringement of the
   6   ’197 patent in violation of 35 U.S.C. § 271(b).
   7         131. Upon information and belief, ResMed actively induces health-care
   8   service providers and users to directly infringe the asserted claims of the
   9   ’197 patent. By way of example only, upon information and belief, ResMed
 10    actively induces direct infringement of the ’197 patent by providing directions,
 11    demonstrations, guides, manuals, training for use, and/or other materials
 12    necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
 13    10 products.
 14          132. Upon information and belief, ResMed knew or should have known
 15    that these activities would cause direct infringement.
 16          133. Upon information and belief, ResMed’s acts constitute contributory
 17    infringement of the ’197 patent in violation of 35 U.S.C. § 271(c). Upon
 18    information and belief, ResMed contributorily infringes because, among other
 19    things, ResMed offers to sell and/or sells within the United States, and/or
 20    imports into the United States, components of S10 CPAP and AirCurve 10
 21    products that constitute material parts of the invention of the asserted claims of
 22    the ’197 patent, are not staple articles or commodities of commerce suitable for
 23    substantial non-infringing use, and are known by ResMed to be especially made
 24    or especially adapted for use in an infringement of the ’197 patent.
 25          134. Upon further information and belief, such components are used by
 26    ResMed in connection with the refurbishing, servicing and/or use of infringing
 27    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
 28    direct infringement of the asserted claims of the ’197 patent.
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 27 of 29 Page ID #:27




   1         135. Upon information and belief, ResMed’s infringement of the
   2   ’197 patent has been, and continues to be, willful, deliberate, and intentional by
   3   continuing its acts of infringement after becoming aware of the ’197 patent and
   4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
   5   Healthcare’s patent rights.
   6         136. As a consequence of ResMed’s patent infringement of the
   7   ’197 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
   8   irreparable harm and injury, including monetary damages in an amount to be
   9   determined at trial.
 10          137. Upon information and belief, unless enjoined, ResMed, and/or
 11    others acting on behalf of ResMed, will continue their infringing acts, thereby
 12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 13    there is no adequate remedy at law.
 14                             VI. PRAYER FOR RELIEF
 15          WHEREFORE, Plaintiff Fisher & Paykel Healthcare prays for judgment
 16    and seeks relief as follows:
 17          (1)    Pursuant to 35 U.S.C. § 271, a determination that ResMed and its
 18    officers, agents, servants, employees, attorneys and all others in active concert
 19    and/or participation with them have infringed each of the ’807, ’741, ’345, ’641,
 20    ’902, ’072, ’547, ’624, and ’197 patents through the manufacture, use,
 21    importation, offer for sale, and/or sale of infringing products and/or any of the
 22    other acts prohibited by 35 U.S.C. § 271;
 23          (2)    Pursuant to 35 U.S.C. § 283, an injunction enjoining ResMed and
 24    its officers, agents, servants, employees, attorneys and all others in active
 25    concert and/or participation with them from infringing the ’807, ’741, ’345,
 26    ’641, ’902, ’072, ’547, ’624, and ’197 patents through the manufacture, use,
 27    importation, offer for sale, and/or sale of infringing products and/or any of the
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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 28 of 29 Page ID #:28




   1   other acts prohibited by 35 U.S.C. § 271, including preliminary and permanent
   2   injunctive relief;
   3         (3)    Pursuant to 35 U.S.C. § 284, an award of compensating Fisher &
   4   Paykel Healthcare for ResMed’s infringement of the ’807, ’741, ’345, ’641,
   5   ’902, ’072, ’547, ’624, and ’197 patents through payment of not less than a
   6   reasonable royalty on ResMed’s sales of infringing products;
   7         (4)    Pursuant to 35 U.S.C. § 284, an award increasing damages up to
   8   three times the amount found or assessed by the jury for ResMed’s infringement
   9   of each of the ’807, ’741, ’345, ’641, ’902, ’072, ’547, ’624, and ’197 patents in
 10    view of the willful and deliberate nature of the infringement;
 11          (5)    Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
 12    case, and an award of reasonable attorney’s fees and non-taxable costs;
 13          (6)    An assessment of prejudgment and post-judgment interest and
 14    costs against ResMed, together with an award of such interest and costs,
 15    pursuant to 35 U.S.C. § 284;
 16          (7)    An award of taxable costs; and
 17          (8)    That Fisher & Paykel Healthcare be granted such other and further
 18    relief as the Court deems equitable and just in the circumstances.
 19                                   Respectfully submitted,
 20                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
 21
 22    Dated: August 15, 2016         By: /s/ Sheila N. Swaroop
                                          Stephen C. Jensen
 23
                                          Joseph F. Jennings
 24                                       Sheila N. Swaroop
 25                                   Attorneys for Plaintiff
 26                                   FISHER & PAYKEL HEALTHCARE LIMITED

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Case 2:16-cv-06099-R-AJW Document 1 Filed 08/15/16 Page 29 of 29 Page ID #:29




   1                               DEMAND FOR JURY TRIAL
   2              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
   3   Fisher & Paykel Healthcare Limited demands a trial by jury of all issues raised
   4   by the pleadings which are triable by jury.
   5
   6                                     Respectfully submitted,
   7                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
   8
   9   Dated: August 15, 2016            By: /s/ Sheila N. Swaroop
                                             Stephen C. Jensen
 10
                                             Joseph F. Jennings
 11                                          Sheila N. Swaroop
 12                                       Attorneys for Plaintiff
 13                                       FISHER & PAYKEL HEALTHCARE LIMITED

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